           Case 20-71358-jwc                        Doc 1-1          Filed 11/03/20 Entered 11/03/20 10:04:51                                Desc
                                                                    Petition Page 1 of 6
                                                                                                                               OFfirCE
                                                                                                            U.S...BANY,RUF. ICY yr:if:Win'
 Fill in this information to identify the case:                                                               NORTHERN DISTRICT
                                                                                                                    OF GEORGIA,
 United States Bankruptcy Court for the:
                                                                                                            2020 NOV -3 AM 9:57
                            District of
                                          (State)
                                                                                                                             THOMAS
         CiIf known):
 Case numbe                                                       hapter   1 1                                               K    LI      Check if this is an

                                                                                                                               6   ._
                                                                                                                                           1iended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                               02/20

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case
number (if known). For more information, a separate document, Instructions for Bankr        cy Forms for Non-Individuals, is available.




 1. Debtor's name




 2. All other names debtor used
    in the last 8 years
     Include any assumed names,
     trade names, and doing business
     as names



 3. Debtor's federal Employer
    Identification Number (EIN)
                                                                    cY73
 4. Debtor's address                            Principal place of business                                   Mailing address, if different from principal place
                                                                                                              of business

                                                           Vr.1
                                                Nu      e '   Str   t                                         Number      Street

                                                        X(                                                    P.O. Box


                                                City                              State     ZIP Code          City                        State       ZIP Code

                                                                                                              Location of principal assets, if different from
                                                                                                              principal place of business


                                                                                                              Number      Street




                                                                                                              City                        State       ZIP Code



 5. Debtor's website (URL)




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Debtor                                                                                        Case number (if known)
             Name



                                          Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
 6. Type of debtor
                                      0 Partnership (excluding        LLP)
                                      0 Other. Specify:

                                      A. Check one:
 7. Describe debtor's business
                                      0 Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                      0 Railroad (as defined in 11 U.S.C. § 101(44))
                                      0 Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                      0 Com odity Broker (as defined in 11 U.S.C. § 101(6))
                                      •      aring Bank (as defined in 11 U.S.C. § 781(3))
                                          None of the above


                                      B. Check all that apply:

                                      0 Tax-exempt entity (as described in 26 U.S.C. § 501)
                                      O Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                        § 80a-3)
                                      O Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                      C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         htto://www.uscourts.qov/four-digit-national-association-naics-codes .



 8. Under which chapter of the        Check one:
     Bankruptcy Code is the
                                      1:1 Chapter 7
     debtor filing?
                                      11?   :89fier 9
                                          Chapter 11. Check all that apply:
                                                            O Debtor's aggregate noncontingent liquidated debts (excluding debts owed to
                                                                   rs or affiliates) are less than $2,725,625 (amount subject to adjustment on
                                                                    2 and every 3 years after that).
                                                                     ebtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                                  btor is a small business debtor, attach the most recent balance sheet, statement
                                                               of operations, cash-flow statement, and federal income tax return or if all of these
                                                                ; C ments do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

                                                                e debtor is a small business debtor as defined (nil U.S.C. § 101(51D), and it
                                                               chooses to proceed under Subchapter V of Chapter 11.

                                                            O A plan is being filed with this petition:

                                                            O Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                            O The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                            O The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                      O Chapter 12

 6. Were prior bankruptcy cases XNo
    filed by or against the debtor
    within the last 8 years?       1-1 Yes. District                                      When                         Case number
                                                                                                 MM/ DD / YYYY
     If more than 2 cases, attach a
     separate list.                              District                                 When                         Case number
                                                                                                 MM/ DD / YYYY


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Debtor                                                                                        Case number (if known)
              Name

                                       )4
 10. Are any bankruptcy cases               No
     pending or being filed by a
     business partner or an            0 Yes. Debtor                                                                   Relationship
     affiliate of the debtor?                       District                                                           When
                                                                                                                                      MM / DD          YYYY
     List all cases. If more than 1,
     attach a separate list.                        Case number, if known


 11.Why is the case filed in this      chePlrthat apply:
     district?
                                            Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                            immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                            district.

                                       LI A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


 14.Does the debtor own or have
    possession of any real
                                       LI Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property or personal property
    that needs immediate                           Why does the property need immediate attention? (Check all that apply.)
    attention?
                                                   CI   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                        What is the hazard?

                                                   O It needs to be physically secured or protected from the weather.

                                                   LI   It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                        attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                        assets or other options).

                                                   O Other



                                                   Where is the property?
                                                                                Number        Street



                                                                                City                                                  State ZIP Code


                                                   Is the property Insured?

                                                   LI No
                                                   LI   Yes. Insurance agency

                                                               Contact name

                                                               Phone




             Statistical and administrative information



 13. Debtor's estimation of            Check one:
     available funds                    LI Ft..3.de- will be available for distribution to unsecured creditors.
                                        a<fter any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.


                                            1-49                              0 1,000-5,000                                1:1 25,001-50,000
 14. Estimated number of
                                        CI 50-99                              0 5,001-10,000                               0 50,001-100,000
     creditors
                                        O 100-199                             0 10,001-25,000                              LI More than 100,000
                                        O 200-999


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Debtor                                                                                        Case number Of known)
             Name



                                         LI $0-$50,000                           $1,000,001-$10 million                LI $500,000,001-$1 billion
 15.Estimated assets                     LI $50,001-$100,000                 LI $10,000,001-$50 million                LI $1,000,000,001-$10 billion
                                         LI $100,001-$500,000                LI $50,000,001-$100 million               1:1 $10,000,000,001-$50 billion
                                         LI $500,001-$1 million              LI $100,000,001-$500 million              Ij More than $50 billion


                                         LI $0-$50,000                            1,000,001-$10 million                LI $500,000,001-$1 billion
 16.Estimated liabilities                LI $50,001-$100,000                 LI $10,000,001-$50 million                LI $1,000,000,001-$10 billion
                                         LI $100,001-$500,000                LI $50,000,001-$100 million               1:1 $10,000,000,001-550 billion
                                         LI 5500,001-51 million              LI $100,000,001-$500 million              Ij More than $50 billion




            Request for Relief, Declaration, and Signatures


 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
                $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 17.Declaration and signature of             The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
    authorized representative of
                                             petition.
    debtor
                                             I have been authorized to file this petition on behalf of the debtor.

                                             I have examined the information in this petition and have a reasonable belief that the information is true and
                                             correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.




 15. Signature of attorney
                                                                                                          Date
                                              Signature of attorney for debtor                                        MM      /DD / YYYY




                                             Printed name

                                             Firm name

                                             Number         Street

                                             City                                                             State            ZIP Code


                                             Contact phone                                                    Email address




                                             Bar number                                                       State




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U. S. BANKRUPTCY COURT / NORTHERN DISTRICT OF GEORGIA / ATLANTA DIVISION

RECEIPT #01263163 (AM) OF 11/03/2020


ITEM   CODE   CASE          QUANTITY                       AMOUNT   BY

   1   11IN   20-71358              1                      $ 0.00   Currency
              Judge - unknown at time of receipt
              Debtor - MOUNTAIN PHOENIX, LLC


TOTAL:                                                     $ 0.00


FROM: Mountain Phoenix, LLC
      Suite 150
      4345 Intl Pkwy
      Atlanta, GA 30354




                                   Page 1 of 1
                 Case 20-71358-jwc                Doc 1-1        Filed 11/03/20 Entered 11/03/20 10:04:51                                 Desc
                                                                Petition Page 6 of 6

   Case Number: 20-71358                            Name:          Mountain Phoenix, LLC                                      Chapter:           11

Please submit the following original documents to the Court for filing so that the case will proceed timely. If you would like to have a filed-
stamped copy of the documents, please submit an extra copy along with a self-addressed stamped envelope.

El Individual - Series 100 Forms                                                             11E] Non-Individual - Series 200 Forms

 MISSING DOCUMENTS DUE WITHIN 7 DAYS                                                           Petition Deficiencies:
  x Complete List of Creditors (names and addresses of all creditors)
 1=1                                                                                           LI Last 4 digits of SSN
 1=1 Pro Se Affidavit (due within 7 days, signature must be notarized,                         LI Address DI County
 or witnessed by a Court Intake Clerk, accompanied by a picture ID.)                           O Type of Debtor
 1=1 Signed Statement of SSN (due within 7 days)                                               O Chapter
                                                                                               O Nature of Debts
  MISSING DOCUMENTS DUE WITHIN 14 DAYS                                                         O Statistical Estimates
  N Statement of Financial Affairs                                                             O Venue
  N Schedules: A/B C D E/ F G H                                                                0 Attorney Bar Number
  • Summary of Assets and Liabilities
  El Declaration About Debtor(s) Schedules
                                                                                                                 Case filed via:
  O Attorney Disclosure of Compensation                                                   D Intake Counter by:
  O Petition Preparer's Notice, Declaration and Signature (Form 119)
                                                                                              O Attorney
  O Disclosure of Compensation of Petition Preparer (Form 2800)
                                                                                              O Debtor - verified ID
  O Chapter 13 Current Monthly Income
                                                                                              21 Other - copy of ID: Registered Agent Rich
  1=1 Chapter 7 Current Monthly Income                                                    Successful 404-736-3159
  O Chapter 11 Current Monthly Income
  O Certificate of Credit Counseling (Individuals only)                                   0 Mailed by:
  O Pay Advices (Individuals only) (2 Months)                                                CI Attorney
  O Chapter 13 Plan, complete with signatures (local form)                                   O Debtor
  El Corporate Resolution (Business Ch. 7 & 11)                                              O Other:

  Ch.11 Business                                                                          1=1 Email [Pursuant to General Order 40-2020, this
  • 20 Largest Unsecured Creditors                                                        petition was received for filing via email ]
  154 List of Equity Security Holders                                                                 History of Case             sociation
  N Small Business - Balance Sheet                                                        Prior cases within
  NI Small Business - Statement of Operations
  NI Small Business - Cash Flow Statement
  0 Small Business - Federal Tax Returns                                                  Signature.
                                                                                          Acknoy5dgment of receipt of Defici c Noti e
  MISSING DOCUMENTS DUE WITHIN 30 DAYS
  LI Statement of Intent — Ch. 7 (Individuals only)

Official and Local Bankruptcy Forms are available on the Court's website at: www.ganb.uscourts.gov. If filing bankruptcy without an
attorney, please read the information regarding Filing Bankruptcy without an Attorney at: www.uscourts.gov/services-forms/bankruptcy/filing-
without-attorney.

FILING FEE INFORMATION - if the required filing fees are not paid in full at the time of case filing, an Order will be forthcoming:
         Paid $ 0   $1,717 due

                  You may mail documents and filing fee payments (no personal checks accepted - cashier's check or money orders only to the address below.
                           All fee payments and documents filed with the Court must show the debtor's name and bankruptcy case number.
                                    **Failure to Comply may result in the dismissal of your case.**
                                                        UNITED STATES BANKRUPTCY COURT
                                                          75 Ted Turner Drive, SW, Room 1340
                                                                 Atlanta, Georgia 30303
                                                                     404-215-1000
 Intake Clerk:     Mezon                  Date: 11/3/20                        Case Opener:                                          Date:
